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UNITED STATES OF AMERICA

                                                  CASE NO. : CR205-3 4
            V.

MOHAMMED SHAUKAT JAMAL
ASHISKUMAR G . PATEL
HERMANT K . PATEL
YOGESHUMAR PATEL
SANJAYKUMAR A . PATEL



                                    ORDER

      Defendant SanjaykumarA . Patel ("Patel") has filed a Motion in Limine seekin g

to exclude any evidence that co-defendant, Mohammed Jamal, is an illegal alien from

Pakistan who is Muslim, and that Sanjaykumar A . Patel gained illegal entry into the

United States through the Mexican border . The Government filed a response to the

motion . After review, Defendant Patel's Motion in Limine is DENIED .

      SO ORDERED, this       '-    a y of November, 2005 .




                                      JUDGE, UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF GEORGIA
